     Case 3:19-cv-01281-JLS-BLM Document 22 Filed 02/28/20 PageID.205 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   MARIA HERNANDEZ, an individual;                     Case No.: 19-CV-1281 JLS (BLM)
     ROBERTO NAVA, an individual; and
12
     AZAEL SANCHEZ, an individual,                       ORDER GRANTING PLAINTIFFS’
13                                     Plaintiffs,       UNOPPOSED MOTION FOR LEAVE
                                                         TO FILE FIRST AMENDED
14   v.                                                  COMPLAINT AND DISMISS
15                                                       CLAIMS AND PARTIES WITHOUT
     SOUTHWEST KEY PROGRAM, INC., a
                                                         PREJUDICE
16   foreign nonprofit; and DOES 1 through
     50,
17                                                       (ECF No. 20)
                                     Defendants.
18
19
20         Presently before the Court is Plaintiffs’ Maria Hernandez, Roberto Nova, and Azael
21   Sanchez’s Motion for Leave to File First Amended Complaint and Dismiss Claims and
22   Parties Without Prejudice (“Mot.,” ECF No. 20). Pursuant to Federal Rules of Civil
23   Procedure 15(a)(2) and 41(a)(2), Plaintiffs request that the Court dismiss without prejudice
24   their causes of action for failure to (1) pay overtime wages, (2) provide meal breaks,
25   (3) provide rest breaks, (4) furnish accurate itemized wage statements, and (5) provide final
26   wages at separation, which “are better served as a class action,” so that Plaintiffs may
27   pursue those claims in the Private Attorney General Act action pending in this District,
28   Hernandez v. Southwest Key Program, No. 3:19-cv-01636-AJB-AHG (S.D. Cal. filed Aug.

                                                     1
                                                                               19-CV-1281 JLS (BLM)
     Case 3:19-cv-01281-JLS-BLM Document 22 Filed 02/28/20 PageID.206 Page 2 of 2


 1   29, 2019). See Mot. at 3. The Motion is unopposed, see ECF No. 21, and the Court finds
 2   it suitable to determination on the papers without oral argument pursuant to Civil Local
 3   Rule 7.1(d)(1).
 4         Good cause appearing, the Court GRANTS Plaintiffs’ Motion. Plaintiffs SHALL
 5   FILE their First Amended Complaint, attached as Exhibit 2 to the Motion, within three (3)
 6   days of the electronic docketing of this Order.
 7         IT IS SO ORDERED.
 8
 9   Dated: February 28, 2020
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  2
                                                                            19-CV-1281 JLS (BLM)
